 Case 8:22-cv-00099-DOC-DFM Document 359 Filed 06/08/22 Page 1 of 2 Page ID #:5776

 1

 2

 3

 4

 5

 6

 7

 8

 9

10
11                     UNITED STATES DISTRICT COURT
12         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
13   JOHN C. EASTMAN,                   Case No.: 8:22-cv-00099-DOC-DFM
14

15                        Plaintiff,
     vs.
16
                                        Judge: Hon. David O. Carter
     BENNIE G. THOMPSON, et al.
17
                          Defendants
18

19         Dr. Eastman’s Motion to Seal his Motion for Extension of time (Dkt. 357-1)
20
     is granted for good cause.
21

22
23

24

25
26

27
 Case 8:22-cv-00099-DOC-DFM Document 359 Filed 06/08/22 Page 2 of 2 Page ID #:5777

 1                                           June 8, 2022
                                Entered on:_____________________.

 2

 3
                                ______________________________.
 4
                                Hon. David O. Carter
 5

 6

 7

 8

 9

10
11

12

13
14

15

16
17

18

19
20

21

22
23

24

25
26

27
